
Cra.bb, J.
delivered the opinion of the Court. This Court is of opinion that the Court below erred in rejecting the evidence offered by the plaintiff in error, under the plea of set-off, upon the sole ground that no proof could be admitted of claims originating prior to the date of the award.
If Newnan had a claim which constituted a legal ground of set-off under his plea, and which was not “ a matter in dispute ” at the time of the award, and therefore not “ included or regarded in the award,” in the language of the plea, it ought to have been admitted in evidence. Ravee v. Farmer, 4 Term Rep. 146; Golightly v. Jelico, 4 Term Rep. in note; Wheeler v. Van Hauten, 12 Johnson’s Rep. 311; Kyd on Awards, 179.
The matters in dispute, as set out in the submission, consisted entirely of claims on the part of Wood v. Newnan. These, “ and all other matters in dispute between the parties,” were submitted. But were the claims of Newnan v. Wood matters in dispute ? and were they submitted? There is certainly nothing in this record which shows it. The contrary is not improbable ; from the silence of the submission respecting them in the first place ; next from the language of the award, which directs moneys to be paid to Wood, and Wood alone to receipt or release; whereas Newnan, too, would probably have been directed to receipt or release if his claim had been considered; and lastly, from the circumstance, pretty apparent from the record, that the umpire heard no evidence on the part of Newnan.
Reverse the judgment and remand the cause for a new trial.
